
 1  First Transit, Inc., Third Party Plaintiff-Appellant and Cross-Appellee,  v.  City of Colorado Springs, Colorado, No. 20CA0346Court of Appeals of Colorado, Third DivisionOctober 22, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                El
      Paso County District Court No. 12CV81 Honorable Eric Bentley,
      Judge.
    
    
               
      OPINION
    
    
                BROWN
      JUDGE.
    
    
               JUDGMENT
      AFFIRMED.
    
    
                Furman
      and Lipinsky, JJ., concur.
    
    